Case 2:04-cV-02937-.]DB-tmp Document 28 Filed 06/20/05 Page 1 of 2 Page|D 17

IN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DIsTRIcT oF TENNESSEE . ,
WESTERN DIVISION 05 JUN 20 PH t“ w

also BY 3£3____ tm

ROBERT R. Di TROL|O
CLERK, U.S. DlST. CT.

TONI SWANIGAN, LILLIE MAE
W.D. OF TN, MEMPH|S

MCGHEE-ALEXANDER, SHERRY
MOORE, JACQUELINE BROOKS,
DARRELL MACKEY [SIC], and
ANlSSA T. SWANIGAN for themselves
and all persons similarly situated,

Plaintiffs,
vs. Civil Action No. 2:04-cv-2937-JDB-tmp
NORTHWEST AIRLINES, INC.,

Defendant.

\-/\_/\_/\_/\_JV\-/\-/\_/\-/\_/\_/VW\_/

 

ORDER GRANTING UNOPPOSED MOTION OF
JAMES R. MULROY, II AND THE LAW FIRM OF
LEWIS FISHER HENDERSON CLAX'I`ON & MULROY, LLP
TO WITHDRAW AS COUNSEL FOR DEFENDANT

 

The Court has before it the Unopposed Motion of J ames R. Mulroy, II and the Law Firm
of Lewis Fisher Henderson Claxton & Mulroy, LLP to Withdraw as Counsel for Defendant
Northwest Airlines, Inc.. For good cause shown, the Court hereby GRANTS the Motion and
allows J ames R. Mulroy, II and the Law Firm of Lewis Fisher Henderson Claxton & Mulroy to

hereby withdraw as counsel for Defendant Northwest Ajrlines, lnc.

SO ORDERED thiszo __day of June, D.Z::OS

UIEL BREEN
NI D STATES DISTRICT COURT JUDGE

 

 

OURT - ESTERN ISRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
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Todd D. Wozniak

KING & SPALDING, LLP
191 Peachtree St.

Atlanta, GA 30303

Alexander W. Wellford

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC

One Commerce Square
Ste. 2000
Memphis7 TN 38103

.1 ames R. Mulroy

LEWIS FISHER HENDERSON & CLAXTON, LLP

6410 Poplar Ave.
Ste. 300
Memphis7 TN 38119

.1 ona J. Miller

KING & SPALDING LLP
191 Peachtree St.7 N.E.
Ste. 3900

Atlanta, GA 30303

Ralph T. Gibson

BATEMAN GIBSON & CH[LDERS
65 Union Ave.

1010 Cotton EXchange Bldg.
Memphis7 TN 38103

R. Scott Ferber

KING & SPALDING LLP
191 Peachtree St.

Atlanta, GA 30303

Honorable .1. Breen
US DISTRICT COURT

